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                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA


    IN THE MATTER OF THE APPLICATION
    OF JASON LEOPOLD TO UNSEAL       Misc. Action No. 13-mc-00712
    CERTAIN ELECTRONIC SURVEILLANCE
    APPLICATIONS AND ORDERS.         Chief Judge Beryl A. Howell


                             MEMORANDUM OPINION AND ORDER

        Following issuance, on September 1, 2020, of the D.C. Circuit’s remand mandate, which

directed this Court to “determine . . . how and when greater access can be provided” to certain

sealed investigative applications and related judicial records, in accordance with guidance set out

in In re Leopold to Unseal Certain Electronic Surveillance Applications and Orders

(“Leopold”), 964 F.3d 1121, 1135 (D.C. Cir. 2020), the parties were directed to submit jointly

their proposals for doing so. Minute Order (Sept. 1, 2020). The parties then submitted separate

responses, see Gov’t’s Response to Court’s September 1, 2020 Minute Order Following Remand

from the D.C. Circuit (“Gov’t’s Resp.”), ECF No. 67; Pet’rs’ Response to September 1, 2020

Minute Order (“Pet’rs’ Resp.”), ECF No. 68, which largely focus on what they describe as

“prospective relief,” that is, on new procedures to enable expeditious unsealing of future

applications for warrants issued pursuant to the Stored Communications Act (“SCA”), 18 U.S.C.

§ 2703(a), SCA § 2703(d) orders, pen registers and trap and trace (“PR/TT”) devices, see id.

§ 3123, and foreign requests for use of these investigative authorities, pursuant to Mutual Legal

Assistance Treaties (“MLATs”), see id. § 3512(a)(2)(B)–(C), once those matters are closed. See

Gov’t’s Resp. at 5–13.1 Thus far, the parties have been “unable to propose a workable solution

for historical records.” Id. at 13.


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        Petitioners’ request for unsealing did not originally include MLAT requests, but the government has

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        Although repeatedly expressing opposition to “efforts to grant relief that the petitioners

did not seek,” id. at 2; see also id. at 3–4 (identifying “concessions or limitations made [by

petitioners] during litigation” that should govern the scope of relief on remand); id. at 5

(“urg[ing]” that relief be formulated only “in the context of what petitioners have requested in

this litigation”); id. at 13 (arguing that “[t]he burden of resolving the mandated public disclosure

of historical surveillance orders is lessened by the concessions made by the petitioners during

appeal, during oral argument, and through discussions with the U.S. Attorney[’]s Office”); id. at

19–20 (“The Government will seek to satisfy the demands made by petitioner[s] that were

preserved on appeal as to the historical records together with concessions they made at oral

argument . . . .”), the government simultaneously acknowledges, as it must, that “the [Leopold]

remand appears to be more expansive than what petitioners requested,” id. at 3; see also id. at

10–12 (suggesting that the logic of the Leopold opinion requires historical unsealing of MLAT

requests, even though “petitioner’s request may not have specifically contemplated access to

these records”). Indeed; but the government opted not to seek rehearing or clarification, nor

appealed the Circuit panel’s decision, meaning that the panel’s mandate must be implemented as

is.

         The parties’ separate submissions on implementation are unhelpful in several respects.

First, in focusing their responses on “prospective” relief and ignoring, for now, “retrospective”

relief, the parties disregard the bulk of the work, post-Leopold, confronting the parties and the

Court, since “historical” investigative applications are being filed daily and the most recently

filed applications are in ongoing, rather than closed, criminal investigations and thus are not even



indicated that, going forward, they should be unsealed along with SCA warrants, SCA § 2703(d) orders, and
PR/TTs, because “arguably they are among the judicial [records] which the D.C. Circuit decision in Leopold
intended for eventual public access.” Gov’t’s Resp. at 10.

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currently subject to unsealing. Further, the prospective process outlined inappropriately shifts

some tasks from the government to this District’s Clerk’s Office, including, for example,

proposing that the Clerk’s Office should shoulder the burden of notifying the government when

an unsealing deadline for a sealed investigative application is coming due so that further

extensions may be sought, if necessary. Second, in at least two respects, the government’s

proposal for unsealing historical investigative records is not compliant with the D.C. Circuit’s

mandate, by suggesting: first, that the panel’s Leopold decision requires that unredacted records

be released; and, second, that disclosure of some historical records will take the form of an

“extraction” of information instead of the records themselves. Finally, the parties fail to propose

specific operational details or any timeline for conducting the massive task of unsealing

historical judicial records at issue. These defects are explained in turn to provide guidance to the

parties in preparing their next joint status report proposing a plan for implementation of the

Leopold mandate in a manner that comports with that mandate.

       1.      Parties’ Proposed “Prospective Relief”

       With respect to “prospective” relief, the parties propose the following. First, the

government will standardize its case captions to exclude personally identifiable information. See

Gov’t’s Resp. at 5–6, 11. This change to case captions has already been accomplished, however,

pursuant to a Memorandum of Understanding entered into by the Clerk’s Office and the U.S.

Attorney’s Office for the District of Columbia (“USAO”), which ensures that standardized case

captions for sealed applications contain no personally identifying information, such as the target

email account, telephone number, or subscriber name. Instead, standardized case captions reflect

some relevant information about the investigative application submitted, including the number of

target telephone lines or email accounts, the types of targets, the service provider that is the



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recipient of the order, and the statutory violation being investigated. See CLERK’S OFFICE, U.S.

DIST. COURT, D.C. & CRIM. DIV., U.S. ATT’Y’S OFFICE, D.C., MEM. OF UNDERSTANDING:

ELECTRONIC FILING OF CERTAIN SEALED APPLICATIONS AND ORDERS 2 (Aug. 15, 2017),

https://www.dcd.uscourts.gov/sites/dcd/files/MOU_Electronic_Filing_Pen_Registers.pdf; see

also In re Leopold to Unseal Certain Electronic Surveillance Applications & Orders, 300

F. Supp. 3d 61, 104–05 (D.D.C. 2018).2

         The only new proposal for case captions is that the standardized caption information

already in effect would be supplemented to include an indication that an application contains

grand jury material and so must remain sealed. See Gov’t’s Resp. at 5–6. This supplemental

information will likely be little used, as the government concedes that “[o]rdinarily, the

Government makes application for electronic surveillance orders without explicit reference to

information obtained by the Grand Jury,” id. at 5, and “such applications do not always have to

rely upon grand jury materials to establish a basis for issuing the requested order,” id. at 6. This

procedure may very well “ease[] the burden upon the Government when trying to identify

electronic surveillance orders applicable to ordinary unsealing.” Id. at 6. The government goes

on, however, to suggest, inexplicably, that “[t]his effort will ease the burden on the [C]lerk’s

[O]ffice,” id., evidently contemplating, incorrectly, that the Clerk’s Office will play some role in


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          Petitioners acknowledge that they did not appeal this Court’s earlier determination that they had waived
their request for real-time public access to docket information in SCA warrant, SCA § 2703(d), and PR/TT matters,
see Pet’rs’ Resp. at 3 n.1, and expressly “do not renew their earlier request to the Court for ‘real-time docket
information,’” id. at 11 (quoting Leopold, 964 F.3d at 1126). Nevertheless, they cite favorably programs in other
district courts that make available some limited real-time docket information, see id. at 12–13 & n.8, and their
proposed order on remand requests that, going forward, case numbers and docket information be made available to
the public in real time. See id., Ex, A, Proposed Order at 2, 5, 7, ECF No. 68-1. Perhaps this is an oversight, as the
proposed order includes a 2016 date, see id. at 9, suggesting it has been recycled from much earlier in this litigation,
when petitioners were still actively seeking real-time docket information. For the sake of clarity, however, until the
cessation of the biannual reports of docket information, which the parties agree is appropriate in light of the Circuit
panel’s Leopold decision, see Pet’rs’ Resp. at 11; Gov’t’s Resp. at 18, petitioners and the public were receiving
docket “information . . . far more robust than that seemingly sought by petitioners” in requesting real-time
information akin to that available in some other districts, albeit on a six-month delay in order to “reduce[] the risk to
an ongoing criminal investigation.” In re Leopold, 300 F. Supp. 3d at 106.

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determining when a matter is closed, see id. (“This notation will aid the Clerk’s Office in ready

identification of electronic surveillance orders . . . exempted from public disclosure . . . .”); id. at

16 (suggesting that “identification of ‘closed’ cases” will be “made in conjunction with the

Clerk’s Office and the government, [and] will allow the Clerk’s [O]ffice to identify closed cases

and thereby[] provide public access to such judicial records”); id. at 18 (“The burden will be

upon the [C]lerk’s [O]ffice to correctly identify closed cases . . . .”). The point must be made

amply clear: The Clerk’s Office does not bear the burden of deciding which matters require

unsealing or to remain sealed, but has only the ministerial task of implementing orders to seal or

unseal. The burden rests on the government alone to determine when a matter is closed and may

be unsealed, including when a matter contains grand jury material that should remain sealed, and

requesting the appropriate order to that effect from the Court.

        Second, at the next step of the prospective unsealing process, the government proposes

that no later than 180 days (or two years, in an MLAT matter) after an application has been filed,

the government will file either a “Notice to Unseal,” which will prompt the Clerk’s Office to

unseal the entire docket, including all the documents filed therein, or a motion requesting that the

case remain under seal for another 180 days. Id. at 7–8. The original applications and associated

proposed orders will contain language reflecting the request and determination that the matter is

sealed for only 180 days, subject to extension in 180-day intervals. Id. at 8.

        The government apparently contemplates that a key trigger for the 180-day filing by the

government of either a “Notice to Unseal” or motion for a sealing extension is an advance

notification from the Clerk’s Office through use of a “DDL” tag available in the federal

judiciary’s Case Management/Electronic Case Filing (“CM/ECF”) system that can be used to

identify the expiration of a sealing period in a court order. Id. at 7; see also id. at 18 (proposing a



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“periodic review” of 180-day deadlines by the Clerk’s Office). Such notifications cannot be

automatically sent to the government; instead, such an advance notice procedure would require

the Clerk’s Office to run a CM/ECF report, which would then have to be formatted and sent via

email to the government. Tasking the Clerk’s Office to provide such regular and routine advance

notice, on a daily, weekly or monthly basis, that a 180-day sealing deadline is imminent would

undoubtedly be a convenient reminder for individual prosecutors, but this is a burden that rests

with the government. Moreover, it would be duplicative for the Clerk’s Office to perform this

function even if it could readily do so, as the government notes that it has a calendar system in

place that will allow tracking of these deadlines itself. See id. at 8–10. Accordingly, as the

government at times acknowledges in its response, see, e.g., id. at 9 (“It will be incumbent upon

the U.S. Attorney’s Office to track electronic surveillance orders . . . in 180[-]day intervals.”),

the government is responsible for keeping track of impending 180-day deadlines and filing a

motion to unseal or motion for the application to remain under seal for another 180 days, as

appropriate.3

         Moreover, minor operational differences between “prospective” unsealing and

“retrospective” unsealing do not warrant treating them entirely separately, as the parties have

done by proposing a plan only for the former while, for now, ignoring the latter. Implementation

of a process for unsealing applications for SCA warrants, SCA § 2703(d) orders, PR/TTs, and



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          Of course, Leopold made clear that the Court is responsible for ensuring that sealed judicial records in
closed matters as unsealed as expeditiously as possible. See Leopold, 964 F.3d at 1143 (“Providing public access to
judicial records is the duty and responsibility of the Judicial Branch.”). So, should the Court discover, on its own
initiative, that a matter remains sealed past the 180-day deadline of the sealing order, the government will likely be
subject to an order to show cause why the documents filed in that matter should not be unsealed, with a full
explanation as to why the government failed to fulfill its responsibilities under the sealing order, and ordered
promptly to prepare properly redacted documents to ensure that the matter could be unsealed. Further, should such
oversight as to expiring 180-day deadlines become an egregious or widespread problem, the Court would need to
take additional steps to ensure that judicial records in closed matters are being timely unsealed.


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MLAT requests, once those matters become closed, will generally follow the same process

whether characterized as “retrospective” or “prospective.” In either case, as explained in more

detail below, unsealing will require the government to file redacted versions of any documents

containing personally identifiable information filed on a given docket, and then to file a motion

to unseal the case docket indicating the matter is closed and identifying, by filed document

number, the unredacted versions of the government-redacted documents to remain under seal.

Once the motion is filed, the Clerk’s Office will unseal the matter, thereby revealing for public

access the docket entries with redacted versions of the sealed documents and keeping sealed only

the specified unredacted original documents. In other words, that is the outline of the plan for all

such judicial records.

       2.       Misreading of Leopold Mandate

       Setting aside the major omission in the parties’ proposals in largely disregarding the

unsealing of historical records, at least three additional flaws are apparent with the parties’

skeletal “prospective” plan. The chief problem is that the government evidently contemplates

unsealing a docket in its entirety, rather than unsealing only documents that have been

appropriately redacted to remove personally identifiable information. This plan is unsatisfactory

and contrary to the Circuit’s mandate in Leopold. As the government notes, ordinarily, “[u]nless

there has been a public arrest, the Government does not and should not make public disclosures

of ongoing criminal investigations,” Gov’t’s Resp. at 20, and its suggestion that the Circuit

panel’s Leopold decision “ends that practice with regard to electronic surveillance orders,” id., is

unpersuasive.

       Nothing in Leopold anticipates, much less requires, that the judicial records at issue be

unsealed without regard to protecting personally identifiable information therein. To the



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contrary, this decision suggests that unsealing involves making public appropriately redacted

documents, noting, for example, that petitioners “acknowledged that the government and court

must be able to redact documents in order to protect privacy and law enforcement interests” and

“cannot and do not expect the U.S. Attorney’s and Clerk’s Offices to disclose records without

redactions or to drop everything and make unsealing their top priority.” Leopold, 964 F.3d at

1133 (emphasis added); see also id. (“[T]he Clerk’s Office cannot simply press ‘print’ and

unseal docket information that might jeopardize personal privacy or ongoing investigations.”

(emphasis added)); id. at 1134 n.14 (“Redaction, for example, is a task best undertaken (or at

least proposed) by the governmental entity that submitted the surveillance application in the first

place.”).

       Nor do petitioners seek the wholesale release of unredacted documents. See Pet’rs’ Resp.

at 13–14 (observing that, to the extent unsealing of historical judicial records would “implicate

the disclosure of personally identifiable information[,] . . . redaction is available”). Finally, other

district courts that have begun unsealing investigative records do not appear to have done so by

releasing unredacted records. See Pet’rs’ Resp., Ex. B, Brief of Amici Curiae Former United

States Magistrate Judges in Support of Petitioners and Reversal at 13–15, ECF No. 68-2 (noting

that magistrate judges in other districts responsible for unsealing judicial records like those at

issue here have required the government to periodically “review applications and orders to

determine whether they could be unsealed and, if so, with what redactions,” and suggesting that

“courts could require that unsealed, redacted versions of [government filings] could be filed

contemporaneously with the sealed copies” in order “to minimize downstream redaction costs”

(emphasis added)).




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       In support of its position that Leopold requires the release of unredacted documents, the

government argues that the six-factor test of United States v. Hubbard, 650 F.2d 293 (D.C. Cir.

1980), applies only after disclosure “when an aggrieved party litigates for resealing,” and that,

under Hubbard and Leopold, the government lacks “the authority or the obligation to redact

closed electronic surveillance records in advance of disclosure.” Gov’t’s Resp. at 22 (emphasis

added). This contention, too, is unpersuasive and is founded on a misreading of both Leopold

and Hubbard. In the instant case, this Court applied Hubbard to determine whether then-sealed

materials should be unsealed. See generally In re Leopold, 300 F. Supp. 3d 61. The Circuit

panel expressly countenanced the application of Hubbard in this context, see Leopold, 964 F.3d

at 1129 (“The Hubbard factors govern this analysis.” (quoting In re Leopold, 300 F. Supp. 3d at

92)), namely, to determine in the first instance whether sealed materials should be unsealed, and,

tellingly, also noted that “[t]he government does not dispute this conclusion,” id. There is thus

no basis for the government’s sudden about-face in insisting that Hubbard applies only to the

question of whether records that have already been released in unredacted form should be

resealed, redacted, and then re-released. To be sure, the privacy interests considered in Hubbard

were advanced by a party who would be aggrieved by the disclosure of the documents at issue in

that case, rather than by the government, see 650 F.2d at 301–06, but that was due only to the

particular procedural posture in that case. Specifically, the third-party nondefendant objecting to

disclosure happened to have knowledge of the documents’ contents because the documents were

originally in that nondefendant’s possession. See id. at 295–96. That is obviously not the case

here, where any individual with a privacy interest potentially implicated by the release of

unredacted investigative records has no knowledge that such records even exist, much less that




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they contain his or her personally identifiable information, and thus is in no position to object to

the release of unredacted records.

       Further, the parties’ suggestion that “unsealing” PR/TTs from 2015 to 2016, and

potentially from 2011 to 2015 as well, will take the form of “extractions” of information from

sealed records rather than the unsealing of those records themselves, see Gov’t’s Resp. at 15–16,

does not comport with the Leopold mandate, for the reasons explained in the Court’s December

10, 2020 Memorandum Opinion & Order in In re Application of Jason Leopold and Buzzfeed,

Inc. for Access to Certain Sealed Court Records (“Leopold/Buzzfeed”), No. 20-mc-95, ECF No.

7. The same reasoning used by the government with respect to MLATs applies here.

Specifically, as to MLATs, the government reasoned, “[a]rguably, the Leopold decision

contemplated these be included as among the electronic surveillance orders that eventually

become ‘closed’ and thus publicly [disclosable],” and therefore they should be unsealed going

forward because if these records are “ignore[d]… now, [they] await future litigation that will

eventually force resolution of the issue, presumably relying upon the decision in Leopold.”

Gov’t’s Resp. at 12. This same reason dictates that all the historical records petitioners seek here

be released by unsealing redacted documents, notwithstanding the petitioners’ earlier agreement

to accept extractions of some historical materials in lieu of actual documents, because a

subsequent petitioner could, reasonably relying on the breadth of the language used by the panel

in Leopold, later request unsealing of documents for which an extraction had already been

provided. Indeed, in a telling example, petitioners in Leopold/Buzzfeed seek certain sealed

investigative records, not extractions from the records. See Appl. ¶ 3, Leopold/Buzzfeed,

No. 20-mc-95, ECF No. 1. This circumstance would effectively require unsealing of the same

set of records to be undertaken twice. That possibility poses an unacceptable demand on the



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parties’ and the Court’s resources and, accordingly, historical records must be redacted and

unsealed, not “extracted.”

        Thus, at a minimum, the following additions to the government’s “prospective” proposal

are necessary. First, in the future, whenever the government files an application for an SCA

warrant, SCA § 2703(d) order, PR/TT, or MLAT request for use of these investigative

authorities, the government must adopt a method for unsealing while protecting personally

identifiable information. That method may take the form, for example, of simultaneously filing

both the full application to remain sealed and redacted application to be unsealed at the unsealing

deadline, but may still require future redaction of any order issued. Another method may be to

put all personally identifiable or sensitive information in an attachment, to which the application

and order refer, such that the attachment may remain sealed while the other investigative records

are unsealed. This method is already used for investigative applications resting on classified

information, which is relayed only in a separate attachment that may be handled appropriately to

its classification.

        Second, the government’s motion to unseal, indicating that a case is closed and signaling

to the Clerk’s Office to unseal the case, will need to identify each docket entry, i.e., ECF

number, containing personally identifiable information that must remain sealed when the matter

is unsealed. For example, the unsealing motion may identify the attachment containing

personally identifiable information as ECF No. 1-1, which will remain sealed. Then, when the

Clerk’s Office unseals the docket, all of the documents filed therein except for the attachment

containing personally identifiable information will be publicly accessible.




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       3.         The Parties Must Focus on Operational Details and Timeline for Unsealing
                  Judicial Records at Issue

       Finally, the parties have neglected to provide any concrete, specific plan to unseal the

daily-growing volume of judicial records at issue, or a timeline for undertaking the massive

redaction of these records so that the sealed dockets may be unsealed, making impossible any

serious evaluation of the parties’ proposals. At a minimum, the government must specifically

identify a procedure and timeline for unsealing the following eight categories of judicial records,

including the order in which it plans to begin redacting and unsealing them, as well as the

number of staff devoted to redacting and unsealing these records as required by Leopold:

       (1) PR/TT applications filed from 2008 through 2011, for which the government has

            already received case numbers and some docket information, see Order and Notice

            (Apr. 24, 2017), ECF No. 37;

       (2) PR/TT applications filed from 2011 through 2016, for which the government has

            already received case numbers and docket access, see Order (Feb. 22, 2017), ECF No.

            33;

       (3) PR/TT applications filed from January 1, 2017 through March 31, 2020, for which the

            government has already received case numbers and some docket information, see

            Order and Notice (Apr. 30, 2018), Disclosure of Pen Registers from January 1, 2017

            Through September 30, 2017, No. 18-mc-61, ECF No. 1; Standing Order 18-46 (Oct.

            2, 2018), Attach. A (PR/TT applications filed by USAO from October 1, 2017 to

            March 31, 2018); Standing Order 19-15 (Apr. 3, 2019), Attach. A (PR/TT

            applications filed by USAO from April 1, 2018 to September 30, 2018); Standing

            Order 19-52 (Nov. 12, 2019), Attach. A (PR/TT applications filed by USAO from

            October 1, 2018 to March 31, 2019); Standing Order 19-53 (Nov. 12, 2019), Attach.


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             D (PR/TT applications filed by the Criminal Division of the Department of Justice

             (“DOJ”) from October 1, 2018 to March 31, 2019); Standing Order 20-21 (Apr. 7,

             2020), Attach. D (PR/TT applications filed by USAO from April 1, 2019 to

             September 30, 2019); Standing Order 20-22 (Apr. 7, 2020), Attach. D (PR/TT

             applications filed by DOJ from April 1, 2019 to September 30, 2019); Standing Order

             20-79 (Oct. 8, 2020), Attach. D (PR/TT applications filed by USAO from October 1,

             2019 to March 31, 2020); Standing Order 20-80 (Oct. 8, 2020), Attach. D (PR/TT

             applications filed by DOJ from October 1, 2019 to March 31, 2020);

         (4) SCA § 2703(d) applications filed from 2008 through 2016, for which the government

             has already received the number of applications filed in each year, but no docket

             numbers or other case information, see Notice (July 7, 2017), ECF No. 43;4

         (5) SCA warrant applications filed from 2008 through 2016, for which the government

             has already received the number of applications filed in each year, but no docket

             numbers or other case information, see Notice (July 21, 2017), ECF No. 45;

         (6) SCA § 2703(d) applications filed from October 1, 2017 through March 31, 2020, see

             Standing Order 18-46 (Oct. 2, 2018), Attach. B (§ 2703(d) applications filed by

             USAO from October 1, 2017 to March 31, 2018); Standing Order 19-15 (Apr. 3,



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          The parties’ earlier request for disclosure of a list of case numbers and docket information for this category
of cases was denied “due to the myriad challenges, and resultant burden, of compiling such a list,” Order and Notice
at 2, ECF No. 40, including (1) a “lack of uniform captions or textual form used for these records,” which
contributed to inconsistent docketing, making it difficult for the Clerk’s Office to identify these cases, id.; (2) the
difficulty in determining which governmental entity filed a given § 2703(d) application, which “require[d] review of
the individual . . . docket, which [was] a time-consuming task,” id.; and (3) determining whether a § 2703(d) order
was issued pursuant to a grand jury subpoena, and therefore was protected by Federal Rule of Criminal Procedure
6(e), “require[d] review of individual records,” id. at 3. Post-Leopold, these administrative burdens and challenges
are insufficient to deny unsealing of these likely closed investigations. See 964 F.3d at 1133–34. Thus, to the extent
the Clerk’s Office is able to identify docket numbers for SCA § 2703(d) applications filed from 2008 through 2016,
these dockets will be made accessible to the government for review and appropriate redaction of documents in
preparation for unsealing of the docket. Should USAO find, upon review, that the application was filed by a
component of DOJ, USAO will necessarily have to consult with that component as part of the unsealing process.

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   2019), Attach. B (§ 2703(d) applications filed by USAO from April 1, 2018 to

   September 30, 2018); Standing Order 19-52 (Nov. 12, 2019), Attach. B (§ 2703(d)

   applications filed by USAO from October 1, 2018 to March 31, 2019); Standing

   Order 19-53 (Nov. 12, 2019), Attach. A (§ 2703(d) applications filed by DOJ from

   October 1, 2018 to March 31, 2019); Standing Order 20-21 (Apr. 7, 2020), Attach. A

   (§ 2703(d) applications filed by USAO from April 1, 2019 to September 30, 2019);

   Standing Order 20-22 (Apr. 7, 2020), Attach. A (§ 2703(d) applications filed by DOJ

   from April 1, 2019 to September 30, 2019); Standing Order 20-79 (Oct. 8, 2020),

   Attach. A (§ 2703(d) applications filed by USAO from October 1, 2019 to March 31,

   2020); Standing Order 20-80 (Oct. 8, 2020), Attach. A (§ 2703(d) applications filed

   by DOJ from October 1, 2019 to March 31, 2020);

(7) SCA warrant applications filed from October 1, 2017 through March 31, 2020, see

   Standing Order 18-46 (Oct. 2, 2018), Attach. C (SCA warrant applications filed by

   USAO from October 1, 2017 to March 31, 2018); Standing Order 19-15 (Apr. 3,

   2019), Attach. C (SCA warrant applications filed by USAO from April 1, 2018 to

   September 30, 2018); Standing Order 19-52 (Nov. 12, 2019), Attach. C (SCA warrant

   applications filed by USAO from October 1, 2018 to March 31, 2019); Standing

   Order 19-53 (Nov. 12, 2019), Attach. B (SCA warrant applications filed by DOJ from

   October 1, 2018 to March 31, 2019); Standing Order 20-21 (Apr. 7, 2020), Attach. B

   (SCA warrant applications filed by USAO from April 1, 2019 to September 30,

   2019); Standing Order 20-22 (Apr. 7, 2020), Attach. B (SCA warrant applications

   filed by DOJ from April 1, 2019 to September 30, 2019); Standing Order 20-79 (Oct.

   8, 2020), Attach. B (SCA warrant applications filed by USAO from October 1, 2019



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             to March 31, 2020); Standing Order 20-80 (Oct. 8, 2020), Attach. B (SCA warrant

             applications filed by DOJ from October 1, 2019 to March 31, 2020); and

       (8) MLAT applications for use of the investigative authorities at issue filed from October

             1, 2017 through March 31, 2020, see Standing Order (Oct. 16, 2018), Attach. A

             (MLAT-related applications filed by DOJ from October 1, 2017 to March 31, 2018);

             Standing Order 19-17 (Apr. 17, 2019), Attach. A (MLAT-related applications filed by

             DOJ from April 1, 2018 to September 30, 2018); Standing Order 19-53 (Nov. 12,

             2019), Attach. C (MLAT-related applications filed by DOJ from October 1, 2018 to

             March 31, 2019); Standing Order 20-21 (Apr. 7, 2020), Attach. C (MLAT-related

             applications filed by USAO from April 1, 2019 to September 30, 2019); Standing

             Order 20-22 (Apr. 7, 2020), Attach. C (MLAT-related applications filed by DOJ from

             April 1, 2019 to September 30, 2019); Standing Order 20-79 (Oct. 8, 2020), Attach. C

             (MLAT-related applications filed by USAO from October 1, 2019 to March 31,

             2020); Standing Order 20-80 (Oct. 8, 2020), Attach. C (MLAT-related applications

             filed by DOJ from October 1, 2019 to March 31, 2020).

       Accordingly, having identified these deficiencies in the parties’ responses and established

these guidelines for implementing the Leopold mandate, it is hereby

       ORDERED that the parties jointly submit, by January 29, 2021, a status report that

includes a specific proposal for implementing the Leopold mandate as to both “prospective” and

“retrospective” relief, consistent with this Memorandum Opinion and Order, and addresses the

following:




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(1) for each of the eight categories of judicial records listed above, an estimate of how

   long the government requires to perform the necessary redactions of personally

   identifiable information so that the matters may be unsealed;

(2) whether the government has begun conducting the review, redaction and unsealing in

   any of the eight categories of judicial records listed above, or, if not, the date that

   such processing is expected to begin; and, in particular, why the government has not

   begun such processing for category (2) records, i.e., PR/TT matters filed by USAO

   from 2011 through 2016, see Order (Feb. 22, 2017), ECF No. 33, for which both

   docket lists and access has already been provided to the USAO by the Clerk’s Office;

(3) the sequence in which the parties agree the government should conduct the review,

   redaction and unsealing of the eight categories of judicial records listed above, and, if

   no agreement is reached, the government’s reasons for the sequence it plans;

(4) the number of staff USAO plans to assign to conduct the review, redaction and

   unsealing of the judicial records listed above and whether DOJ is assisting in this

   process; the number of hours per week these assigned employees are expected to

   devote to the review, redaction and unsealing process; and whether USAO intends to

   hire additional staff or contractors to carry out this process, in full compliance with

   Leopold;

(5) what assistance the parties expect is necessary from the Clerk’s Office to conduct the

   review, redaction and unsealing of the eight categories of judicial records listed

   above; and




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(6) any other matters that the parties believe should be addressed with respect to

   unsealing the sealed investigative applications at issue and related judicial records

   from 2008 to the present.

SO ORDERED.

Date: December 17, 2020

                                             __________________________
                                             BERYL A. HOWELL
                                             Chief Judge




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